

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NOS. WR-76,428-01, WR-76,428-02, WR-76,428-03, WR-76,428-04, 

WR-76,428-05 &amp; WR-76,428-06





EX PARTE KEITH WAYNE FLAGG, Applicant









ON APPLICATIONS FOR WRITS OF HABEAS CORPUS

CAUSE NOS. 63248, 67465, 61466, 67558, 67569 &amp; 63299 

IN THE 291ST JUDICIAL DISTRICT COURT

FROM DALLAS COUNTY




	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court these applications for writs of habeas corpus.  Ex
parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant entered open pleas of guilty
to one charge of failure to register as a sex offender, two charges of aggravated sexual assault of a
child, and three charges of indecency with a child.  He was sentenced to ten years' imprisonment for
the failure to register offense, and consecutive life sentences for each of the other offenses. 
imprisonment.  The Fifth Court of Appeals affirmed his convictions.  Flagg v. State, Nos. 05-08-00019-CR, 05-08-00021-CR, 05-08-00022-CR, 05-08-00023-CR, 05-08-00024-CR &amp; 05-08-00020-CR (Tex. App. - Dallas, February 3, 2009, pet. ref'd).

	Applicant contends that he was not competent to enter his pleas, and that his trial counsel
rendered ineffective assistance because counsel failed to have him evaluated for competency and
sanity.  

	The trial court held a habeas hearing on June 1, 2011, and subsequently entered findings of
fact and conclusions of law, recommending that relief be denied.  The trial court's findings of fact
and conclusions of law make specific reference to the habeas hearing, and cite to specific pages of
the transcript of that hearing.  However, no transcript of the habeas hearing was included in the
habeas record.

	The trial court shall supplement the habeas record with a transcript of the habeas hearing in
these cases.  These applications will be held in abeyance until the trial court has supplemented the
record.  A supplemental transcript shall be returned to this Court within 120 days of the date of this
order.  Any extensions of time shall be obtained from this Court. 




Filed: January 25, 2012

Do not publish


